
PER CURIAM.
Although this case was filed as an appeal from the circuit court’s denial of a petition for a writ of mandamus to review the Department of Corrections’ forfeiture of the inmate’s gain time after violation and revocation of control release,' pursuant to Sheley v. Florida Parole Commission, 703 So.2d 1202 (Fla. 1st DCA 1997), petition for review filed, ease no. 92,260, we treat this appeal as a petition for a writ of certiorari. In accordance with Bowles v. Singletary, 698 So.2d 1201 (Fla.1997), certiorari is hereby denied.
BARFIELD, C.J., and ALLEN and LAWRENCE, JJ., concur.
